IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

NATERA, INC.,
Plaintiff,

V.
Case No. 1:23-cv-629-CCE-JLW

NEOGENOMICS LABORATORIES,
INC.,

Defendant.

Request for International Judicial Assistance pursuant to the Hague Convention of
18 March 1970 on the Taking of Evidence Abroad in Civil or Commercial Matters

1. Sender The Honorable Catharine C. Eagles

Chief District Judge

United States District Court for the Middle
District of North Carolina

L. Richardson Preyer Courthouse

324 W. Market Street

Greensboro, North Carolina 27401-2544
United States of America

2. Central Authority of the The Senior Master
Requested State For the attention of the Foreign Process Section
Room E16
Royal Courts of Justice
Strand
London WC2A 2LL
United Kingdom

Tel: +44 203 936 8957 (please select the option
for ‘Foreign Process’)
Email: foreignprocess.rcj@justice.gov.uk

Case 1:23-cv-00629-CCE-JLW Document 363 _ Filed 12/31/24 Pagei1ofi3
3. Person to whom the executed | Aaron G. Fountain
request is to be returned Morrison & Foerster LLP

2100 L Street, NW

Suite 900

Washington, D.C. 20037

United States of America

Telephone: +1 (512) 617-0655
Email: AFountain@mofo.com

Chiraag Shah

Morrison & Foerster (UK) LLP
52 Lime Street

London EC3M 7AF

United Kingdom

Tel.: +44 (0)20 7920 4176
cshah@mofo.com

4. Specification of the date by which the requesting authority requires receipt of the
response to the Letter of Request

Date Deposition of Dr. Swanton: April 13, 2025

Reason for urgency Trial in this matter is scheduled to begin on
October 13, 2025.

IN CONFORMITY WITH ARTICLE 3 OF THE CONVENTION, THE UNDERSIGNED
APPLICANT HAS THE HONOUR TO SUBMIT THE FOLLOWING REQUEST:

Case 1:23-cv-00629-CCE-JLW Document 363 _ Filed 12/31/24 Page 2of13
a Requesting judicial
authority (Article 3,a))

b To the competent authority
of (Article 3, a))

c Names of the case and any
identifying number

Names and addresses of the
parties and their
representatives (including
representatives in the requested
State) (Article 3, b))

a Plaintiff

Representatives

The Honorable Catharine C. Eagles

Chief District Judge

United States District Court for the Middle
District of North Carolina

L. Richardson Preyer Courthouse

324 W. Market Street

Greensboro, North Carolina 27401-2544
United States of America

England and Wales

Natera, Inc. v. NeoGenomics Laboratories, Inc.
Case No. 1:23-cv-629-CCE-JLW, Middle
District of North Carolina

Natera, Inc.

13011 Mccallen Pass, Building A Suite 100,
Austin, Texas, 78753

United States of America

Robert C. Van Arnam

Andrew R. Shores

WILLIAMS MULLEN

P.O Drawer 1000

Raleigh, NC 27602-1000

United States of America
+1(919) 981-4015
rvanarnam@williamsmullen.com
ashores@williamsmullen.com

Case 1:23-cv-00629-CCE-JLW Document 363 _ Filed 12/31/24 Page3of13

Kevin P.B. Johnson

Victoria F, Maroulis

QUINN EMANUEL URQUHART
& SULLIVAN, LLP

555 Twin Dolphin Shores, 5th Floor
Redwood Shores, CA 94065

United States of America

+1(650) 801-5000
kevinjohnson@quinnemanuel.com
victoriamaroulis@quinnemanuel.com

Andrew Bramhall

Kevin Smith

Tara Srinivasan, Ph.D.

QUINN EMANUEL URQUHART
& SULLIVAN, LLP

50 California Street, 22nd Floor
San Francisco, CA 94111

United States of America

+1(415) 875-6600
andrewbramhall@quinnemanuel.com
kevinsmith@quinnemanuel.com
tarasrinivasan@quinnemanuel.com

Sandra Haberny, Ph.D.

QUINN EMANUEL URQUHART
& SULLIVAN, LLP

865 South Figueroa Street, 10th Floor
Los Angeles, CA 90017

United States of America

+1(213) 443-3000
sandrahaberny@quinnemanuel.com

b Defendant NeoGenomics Laboratories, Inc.
9490 NeoGenomics Way

Fort Myers, Florida 33912
United States of America

Case 1:23-cv-00629-CCE-JLW Document 363 Filed 12/31/24 Page4ofi13
Representatives

DARALYN J. DURIE
MATTHEW I. KREEGER
ANNIE A. LEE

JACK WILLIAM HAISMAN
MORRISON & FOERSTER LLP
425 Market Street

San Francisco, CA 94105

Tel: (415) 268-7000

Fax: (415) 268-7522
DDurie@mofo.com
MKreeger@mofo.com
AnnieLee@mofo.com
JHaisman@mofo.com

CHARLES CALHOUN PROVINE
MORRISON & FOERSTER LLP
2100 L Street NW, Suite 900
Washington, DC 20037

Tel: (202) 887-1500

Fax: (202) 887-0763
CProvine@mofo.com

ERIC NIKOLAIDES
MORRISON & FOERSTER LLP
250 West 55th St.

New York, NY 10019

Tel: (212) 336-4061
ENikolaides@mofo.com

AARON G. FOUNTAIN

HUI ZHAO

MORRISON & FOERSTER
300 Colorado Street, Suite 1800
Austin, TX 78701

Tel: (737) 309-0700
AFountain@mofo.com
HZhao@mofo.com

MATTHEW R. STEPHENS
MORRISON & FOERSTER LLP
12531 High Bluff Drive, Suite 100
San Diego, CA 92130

Tel: (858) 720-5100

Case 1:23-cv-00629-CCE-JLW Document 363 _ Filed 12/31/24 Page5ofi3

c Other parties

Representatives

a Nature of the proceedings
(divorce, paternity, breach
of contract, product
liability, etc.) (Article 3, c))

Fax: (858) 720-5125
MStephens@mofo.com

JOHN F. MORROW, JR.
JOHN D. WOOTEN IV

WOMBLE BOND DICKINSON (US) LLP

One West Fourth Street
Winston-Salem, NC 27101
Tel: 336-721-3584

Fax: 336-733-8429
John.Morrow@wbd-us.com
JD.Wooten@wbd-us.com

Chiraag Shah

Morrison & Foerster (UK) LLP
52 Lime Street

London EC3M 7AF

United Kingdom

Tel.: +44 (0)20 7920 4176
cshah@mofo.com

Patent infringement

Case 1:23-cv-00629-CCE-JLW Document 363 _ Filed 12/31/24

Page 6 of 13

b Summary of complaint Plaintiff Natera, Inc. (“Natera’’), a U.S.
corporation, has alleged in its complaint that
Defendant NeoGenomics, Inc.
(“NeoGenomics”) infringes U.S. Patent Nos.
11,530,454 (the “’454 Patent”) and 11,319,596
(the “596 Patent”) (collectively, “Asserted
Patents”). These patents relate to methods of
testing cell-free DNA (“cfDNA”) from cancer
cells, including assessing the genetic evolution
of a cancer’s DNA by monitoring “clonal” and
“subclonal” mutations in that DNA. Natera has
alleged that NeoGenomics’ RaDaR™ Minimum
Residual Disease Assay infringes the Asserted

Patents.
ec Summary of defence and As patt of its defence, NeoGenomics contends
counterclaim that the °454 and ’596 Patents are invalid for

improper inventorship. Specifically,
NeoGenomics contends that Dr. Mariam Jamal-
Hanjani and Dr. Charles Swanton were omitted
as inventors of the °454 and ’596 Patents, which
are owned and asserted by Natera in this matter.
The omission of Drs. Jamal-Hanjani and
Swanton as inventors renders the patents
invalid, such that they cannot be infringed.

Under U.S. law, a patent is invalid patent if
more or less than the true inventors are named
on the patent. If an inventor has been omitted
from the patent, the patent is invalid unless the
omission is correct in accordance with U.S. law.
To be an inventor, one must contribute to the
conception of one of the patent claims and
contribute through a joint behavior, such as
collaboration or working under common
direction. Therefore, evidence of contribution to
conception and evidence of communications of
that contribution are relevant to an improper
inventorship defense.

Case 1:23-cv-00629-CCE-JLW Document 363 Filed 12/31/24 Page 7ofi3
As is exhibited by documentary evidence, Dr.
Swanton supervised the TRACERx study,
including Dr. Jamal-Hanjani’s thesis, and served
as the conduit of that information to Natera’s
representative. His testimony is particularly
relevant to explain the communications between
Drs. Jamal-Hanjani and Swanton and Natera’s
employees, who were named as inventors on the
patents.

NeoGenomics contends that Drs. Swanton and
Jamal-Hanjani contributed to the conception of
the claims of the asserted patents and
collaborated with Natera on the inventions.
NeoGenomics seeks the testimony of Dr.
Swanton to show that he conceived of subject
matter encompassed by claims 4-9 of the 596
patent and claims 3-5, 7, 17-19, and 21 of the
°454 patent and communicated that conceived
subject matter, directly or indirectly, to the
named inventors of the 596 and °454 patents.

d_ Other necessary This Court has reviewed documentary evidence,
information or documents _| including publications and correspondence
exchanged between Dr. Swanton and Natera,
which suggests that Dr. Jamal-Hanjani and Dr.
Charles Swanton contributed to the subject
matter claimed by the 596 and °454 patents and
communicated that information to Natera.

Specifically, certain documents produced in this
case suggest that Drs. Swanton and Jamal
Hanjani may be considered inventors of claims
4-9 of the 596 patent and claims 3-5, 7, 17-19,
and 21 of the ’454 patent.

e Claims 4-9 of the 596 patent and claims
3-5, 7, 17-19, 21 of the °454 patent are
directed to methods of detecting clonal
and subclonal single-nucleotide variants
(SNVs) in cell-free DNA (cf{DNA) from
cancer cells, which Drs. Swanton and

Case 1:23-cv-00629-CCE-JLW Document 363 _ Filed 12/31/24 Page 8of1i3
8.

a Evidence to be obtained or
other judicial act to be
performed (Article 3, d))

b Purpose of the evidence or
judicial act sought

Case 1:23-cv-00629-CCE-JLW

Jamal-Hanjani conceived and
communicated to named inventors of the
°596 and °454 patent.

e Claims 4 and 7 of the °596 patent are
directed to methods of detecting the exact
SNVs identified by Drs. Swanton and
Jamal-Hanjani in their research, which
they also communicated to the patent’s
named inventors.

Neogenomics contends that Drs. Swanton and
Jamal-Hanjani conceived of these claims when
they developed the TRACERx (TRAcking
Cancer Evolution through therapy (Rx)) study,
which is described in Dr. Jamal-Hanjani’s thesis
(the “Thesis”) and also published in Annals of
Oncology, with Natera’s named inventors Tudor
Pompiliu Constantin, Huyesin Eser Kirkizlar,
Styrmir Sigurjonsson, and Bernhard
Zimmermann listed as coauthors (the “Article”).

The evidence before this Court therefore
suggests that Natera may have taken Drs.
Swanton and Jamal-Hanjani’s work without
adding them as inventors to the °596 and °454
patents.

Oral examination of Dr. Swanton to elicit
evidence for use at trial relating to his role and
participation in the TRACERx study and
collaboration with Natera.

The oral evidence of Dr. Swanton is intended
for use at trial and in the view of this court will
be highly relevant and material to the
determination of the Defendant’s improper
inventorship defence as summarized above
including in particular, whether Dr. Jamal-
Hanjani and Dr. Swanton were improperly

Document 363 =~Filed 12/31/24. Page 9of13
10.

11.

12.

13.

Identity and address of any
person to be examined (Article

3, e))

Questions to be put to the
persons to be examined or
statement of the subject-matter
about which they are to be
examined (Article 3, f))

Documents or other property to
be inspected (Article 3, g))

Any requirement that the
evidence be given on oath or
affirmation and any special
form to be used (Article 3, /))

Special methods or procedure
to be followed (e.g. oral or in
writing, verbatim, transcript or
summary, cross-examination,
etc.) (Articles 3, 7) and 9)

Case 1:23-cv-00629-CCE-JLW Document 363

omitted as inventors on the ’454 and °596 patent
applications.

Dr Charles Swanton
University College London
UCL Cancer Institute

Paul O'Gorman Building
72 Huntley Street

London WCI1E 6BT
United Kingdom

See Appendix A attached hereto

N/A

This Court requests that the examination be
taken under the Federal Rules of Civil
Procedure of the United States of America,
except to the extent that such procedure is
incompatible with the law of England & Wales.
The testimony shall be given under oath or
affirmation.

The deposition shall take place in London,
England at the offices of Morrison Foerster, 52
Lime Street, London, EC3M 7AF.

The examination shall be taken under the
Federal Rules of Civil Procedure of the United

Filed 12/31/24. Page 10o0f13
States, except to the extent such procedure is
incompatible with the internal laws of the
United Kingdom. This Court requests: (1) that
the examination be taken orally; (2) that the
examination be taken before a commercial
stenographer and videographer selected by
Defendants; (3) that the stenographer be
permitted to record the examination by audio
means; (4) that the stenographer be allowed to
record a verbatim transcript of the examination;
(5) that counsel for Plaintiffs and counsel for
Defendants be notified as soon as possible of the
date, time, and place of the examination, along
with any other pertinent information, including
what authority has been appointed to preside
over the examination; (6) that counsel for
Plaintiffs and counsel for Defendants be
permitted to question the witness regarding the
topics described in this Request; (7) that 7.0
hours be allotted for the examination; (8) that
the examination be closed to the public; and (9)
that the witness be examined as soon as
possible.

This Court further requests that (1) counsel for
the parties and the witness be permitted to object
to the form of questions just as they would in a
deposition taken in the United States pursuant to
the Federal Rules of Civil Procedure; (2) any
such objections be recorded by the stenographer
and the presiding examiner; and (3) to the extent
reasonably necessary to avoid the disclosure of
information protected by the attorney-client
privilege, the attorney work product doctrine, or
other applicable privilege, counsel be permitted
to direct the witness not to answer.

This Court has issued an order to protect
confidentiality (the “Protective Order”).
Pursuant to the Protective Order, the questioning
of the witness, the witness’s testimony, and any
transcript or audio recording of the questioning
and testimony, may be designated as

Case 1:23-cv-00629-CCE-JLW Document 363 Filed 12/31/24 Page1ilof13

14.

15.

16.

Request for notification of the
time and place for the
execution of the Request and
identity and address of any
person to be notified (Article
7)*

Request for attendance or
participation of judicial
personnel of the requesting
authority at the execution of
the Letter of Request (Article
8)

Specification of privilege or
duty to refuse to give evidence
under the law of the State of
origin (Article 11, 5))

Case 1:23-cv-00629-CCE-JLW Document 363

“Confidential Information” or “Outside
Attorneys’ Eyes Only Information” in
accordance with the Stipulation and Protective
Order by the parties or by the witness.

If the evidence cannot be taken according to
some or all of the procedures described above,
this Court requests that it be taken in such
manner as provided by the applicable law of
England and Wales for the formal taking of
testimonial evidence. When required, this Court
will provide similar assistance as requested
herein to the appropriate judicial authorities of
the United Kingdom.

It is requested that NeoGenomics Laboratories’
counsel (contact information in section 6b,
above) and Natera, Inc.’s counsel (contact
information in section 6a, above) be informed as
soon as practicable of the date and place where
this request will be executed or any issues with
the request.

No attendance of judicial personnel of the
requesting authority is requested.

Under the laws of the United States, a witness
has a privilege to refuse to give evidence if to do
so would disclose a confidential communication
between the witness and his attorney that was
communicated specifically for the purpose of
obtaining legal advice and which privilege has
not been waived. United States law also
recognizes a privilege against self-incrimination.
Certain limited immunities are also recognized
outside the strict definition of privilege, such as

Filed 12/31/24. Page 12o0f13
17. The fees and costs incurred
which are reimbursable under
the second paragraph of Article
14 or under Article 26 of the
Convention will be borne by

DATE OF REQUEST

SIGNATURE AND SEAL OF
THE REQUESTING
AUTHORITY

Case 1:23-cv-00629-CCE-JLW Document 363 Filed 12/31/24 Page13o0f13

the limited protection of work product created
by attorneys during or in anticipation of
litigation.

The fees and costs incurred that are
reimbursable under the second paragraph of
Article 14 or under Article 26 of the Hague
Convention will be borne by Defendants.

Statements for the amounts due should be sent
to Morrison & Foerster (UK) LLP, 52 Lime
Street, London EC3M 7AF.

Kanter 2 / KOM

